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                                               United States Bankruptcy Court
                                                Middle District of Florida
In re:                                                                                                     Case No. 16-06499-FMD
Chris E Carhart                                                                                            Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113A-9                  User: bugayd                       Page 1 of 2                          Date Rcvd: Mar 14, 2017
                                      Form ID: Dogmaphv                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 16, 2017.
aty            +John S. Biallas,   3 N 918 Sunrise Lane,   St. Charles, IL 60174-5081

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 16, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 14, 2017 at the address(es) listed below:
              Lara Roeske Fernandez   on behalf of Plaintiff    Halaska International, Inc.
               lrfernandez@trenam.com, lkfloyd@trenam.com,dranson@trenam.com;mwoods@trenam.com
              Lara Roeske Fernandez   on behalf of Creditor    Halaska International, Inc.
               lrfernandez@trenam.com, lkfloyd@trenam.com,dranson@trenam.com;mwoods@trenam.com
              Lara Roeske Fernandez   on behalf of Plaintiff Christoper G. Halaska lrfernandez@trenam.com,
               lkfloyd@trenam.com,dranson@trenam.com;mwoods@trenam.com
              Lara Roeske Fernandez   on behalf of Creditor Christoper G. Halaska lrfernandez@trenam.com,
               lkfloyd@trenam.com,dranson@trenam.com;mwoods@trenam.com
              Lara Roeske Fernandez   on behalf of Creditor    Carhart-Halaska International LLC
               lrfernandez@trenam.com, lkfloyd@trenam.com,dranson@trenam.com;mwoods@trenam.com
              Lara Roeske Fernandez   on behalf of Plaintiff    Carhart-Halaska International LLC
               lrfernandez@trenam.com, lkfloyd@trenam.com,dranson@trenam.com;mwoods@trenam.com
              Megan Wilson Murray   on behalf of Plaintiff Christoper G. Halaska mwmurray@trenam.com,
               LKF@trenam.com;mwoods@trenam.com
              Megan Wilson Murray   on behalf of Plaintiff   Halaska International, Inc. mwmurray@trenam.com,
               LKF@trenam.com;mwoods@trenam.com
              Megan Wilson Murray   on behalf of Plaintiff   Carhart-Halaska International LLC
               mwmurray@trenam.com, LKF@trenam.com;mwoods@trenam.com
              Melissa H Jeda   on behalf of Debtor Chris E Carhart millerandhollander@comcast.net,
               mhbknotices@gmail.com;backupnotices@comcast.net
              Melissa H Jeda   on behalf of Defendant Chris E. Carhart millerandhollander@comcast.net,
               mhbknotices@gmail.com;backupnotices@comcast.net
              Melissa H Jeda   on behalf of Defendant Chris E Carhart millerandhollander@comcast.net,
               mhbknotices@gmail.com;backupnotices@comcast.net
              Richard J. Hollander   on behalf of Defendant Chris E. Carhart millerandhollander@comcast.net,
               backupnotices@comcast.net;mhbknotices@gmail.com
              Richard J. Hollander   on behalf of Defendant John S. Biallas millerandhollander@comcast.net,
               backupnotices@comcast.net;mhbknotices@gmail.com
              Richard J. Hollander   on behalf of Attorney John S. Biallas millerandhollander@comcast.net,
               backupnotices@comcast.net;mhbknotices@gmail.com
              Richard J. Hollander   on behalf of Defendant Chris E Carhart millerandhollander@comcast.net,
               backupnotices@comcast.net;mhbknotices@gmail.com
              Richard J. Hollander   on behalf of Debtor Chris E Carhart millerandhollander@comcast.net,
               backupnotices@comcast.net;mhbknotices@gmail.com
              Robert E Tardif, Attorney for Trustee   on behalf of Trustee Robert E Tardif, Jr.
               rtardif@comcast.net, graceheidkamp@gmail.com;blkenney2@comcast.net
              Robert E Tardif, Jr.   rtardif@comcast.net,
               graceheidkamp@gmail.com;blkenney2@comcast.net;rtardif@ecf.epiqsystems.com
              Robert E Tardif, Jr.   on behalf of Plaintiff Robert E Tardif, Jr. rtardif@comcast.net,
               graceheidkamp@gmail.com;blkenney2@comcast.net;rtardif@ecf.epiqsystems.com
              Robert E. Tardif, Jr.   on behalf of Plaintiff Robert E Tardif, Jr. rtardif@comcast.net,
               ClientECF@bankruptcybodyguard.com;thays@bkbodyguard.com;pamelakoper@gmail.com
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District/off: 113A-9         User: bugayd                 Page 2 of 2                  Date Rcvd: Mar 14, 2017
                             Form ID: Dogmaphv            Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Stephanie C Lieb   on behalf of Creditor Christoper G. Halaska slieb@trenam.com,
               idawkins@trenam.com,Lfloyd@trenam.com,mwmurray@trenam.com
              Stephanie C Lieb   on behalf of Plaintiff Christoper G. Halaska slieb@trenam.com,
               idawkins@trenam.com,Lfloyd@trenam.com,mwmurray@trenam.com
              Stephanie C Lieb   on behalf of Plaintiff   Halaska International, Inc. slieb@trenam.com,
               idawkins@trenam.com,Lfloyd@trenam.com,mwmurray@trenam.com
              Stephanie C Lieb   on behalf of Creditor   Halaska International, Inc. slieb@trenam.com,
               idawkins@trenam.com,Lfloyd@trenam.com,mwmurray@trenam.com
              Stephanie C Lieb   on behalf of Plaintiff   Carhart-Halaska International LLC slieb@trenam.com,
               idawkins@trenam.com,Lfloyd@trenam.com,mwmurray@trenam.com
              Stephanie C Lieb   on behalf of Creditor   Carhart-Halaska International LLC slieb@trenam.com,
               idawkins@trenam.com,Lfloyd@trenam.com,mwmurray@trenam.com
              Stephanie C Lieb   on behalf of Creditor   Halaska-Carhart International LLC slieb@trenam.com,
               idawkins@trenam.com,Lfloyd@trenam.com,mwmurray@trenam.com
              United States Trustee - FTM7/13   USTPRegion21.TP.ECF@USDOJ.GOV
                                                                                            TOTAL: 29
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[Dogmaphv] [District Order Granting Motion to Appear Pro Hac Vice]




                                           ORDERED.
Dated: March 14, 2017




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             FT. MYERS DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                       Case No. 9:16−bk−06499−FMD
                                                                             Chapter 7
Chris E Carhart
aka Chris Earl Carhart




________Debtor*________/

                      ORDER GRANTING MOTION TO APPEAR PRO HAC VICE
                AND DIRECTING PAYMENT TO THE UNITED STATES DISTRICT COURT

   THIS CASE came on for consideration, without hearing, of the Motion to Appear Pro Hac Vice (Document #
71 ) ("Motion") of attorney John S Biallas for representation of Kexin Carhart . Accordingly, it is ORDERED:

   1. The Motion is Granted.

   2. Attorney John S Biallas is admitted to appear before this Court in this case and any related adversary
proceeding as counsel for Kexin Carhart subject to Local Rule 2090−1.

   3. Within fourteen days from the date of this order, attorney John S Biallas shall pay to the Clerk, of the
United States District Court for the Middle District of Florida, an Attorney Special Admission Fee in the amount
of $150.00 and upon payment of the fee, file a Notice of Compliance with the Clerk of the U.S. Bankruptcy Court.
Procedures for Attorney Special Admission are available on the U.S. District Court's website.

    4. Upon completion of the Court's electronic filing registration forms and requirements, the Clerk is directed to
issue attorney John S Biallas , a temporary login and password to the Court's electronic filing system (CM/ECF)
with filing privileges limited to this case and any related adversary proceedings. CM/ECF access request should
be directed to the ECF Helpdesk at ecfhhelp@flmb.uscourts.gov. PACER accounts required for viewing, must be
set up by the attorney through PACER at http://www.pacer.gov.
The Clerk's office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two individuals.
